Case 1:20-cv-03010-APM   Document 1371-1   Filed 05/29/25   Page 1 of 8




          ATTACHMENT A
   Case 1:20-cv-03010-APM      Document 1371-1      Filed 05/29/25   Page 2 of 8




                Crosswalk of Google’s PFOFs and Plaintiffs’ RPFOFs



  Google     Plaintiffs’       Google      Plaintiffs’        Google      Plaintiffs’
 PFOF ¶      RPFOF ¶           PFOF ¶      RPFOF ¶            PFOF ¶      RPFOF ¶
2          1003               60         1030                124        1051
4          1004               62         1031                125        1051
5          1005               64         1019, 1032          126        1044
6          1006, 1009         65         1030                128        1044
10         1007               67         1033                130        1044
11         1008               68         1034                131        1052
12         1009               69         1035                132        1052
13         1010               72         1036                133        1052
15         1037               73         1037                134        1041
16         1011, 1012         74         1037                139        1044
17         1011, 1012         76         1038                140        1044
18         1011, 1012         77         1039                141        1044
20         1011, 1012         78         1039                148        1044
21         1013               79         1039                150        1053
22         1014               82         1040                151        1053
23         1014               86         1041                152        1053
24         1014               87         1041                153        1053
25         1015               88         1041                154        1054
26         1016               89         1041                155        1053
27         1016               90         1042                156        1053
28         1016               91         1042                157        1053
29         1017               93         1043                158        1053
30         1014, 1018         96         1044                159        1053
31         1019               99         1041                160        1053
32         1020               100        1041                161        1053
33         1021               101        1041                164        1049
34         1022, 1023         102        1041                168        1055
35         1023               106        1041                169        1056
36         1023               108        1045                170        1056
37         1024               110        1046                175        1056
38         1024               112        1047                177        1057
39         1025               113        1047                178        1057
40         1025               114        1048                179        1057
49         1026               117        1049                180        1057
52         1027               118        1049                181        1057
56         1028               119        1049                182        1057
57         1029               120        1050                183        1057
59         1030               121        1049                184        1057


                                        1
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 3 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
185       1058             254       1074                298        1085
186       1059             256       1071                299        1083
187       1060             257       1071                300        1084
188       1060             258       1071                301        1085
189       1060             259       1071                302        1085
190       1060             260       1071                303        1075
191       1060             261       1071                305        1086
192       1060             262       1074                308        1087
193       1060             263       1076                309        1087
194       1060             266       1076                310        1087
195       1060             267       1076                311        1087
196       1060             268       1076                312        1087
197       1061             269       1076                313        1087
198       1061             270       1076                314        1087
200       1058             271       1076                316        1088, 1089
201       1062             272       1077                319        1089
202       1062             273       1077                320        1089
203       1058             274       1077                321        1089
204       1058             275       1077                322        1089
208       1063             276       1077                324        1090
209       1064             277       1077                326        1091
212       1065             278       1071                327        1092
213       1066             279       1071                329        1093
216       1067             280       1071                330        1094
218       1066             281       1071                331        1095
219       1068             282       1071                332        1096
220       1068             283       1071                333        1096
221       1069             284       1077                334        1097
222       1070             285       1077                335        1100
226       1068             286       1078                336        1098
227       1068             287       1078                337        1073, 1100
229       1071             288       1077                338        1073, 1100
237       1071             289       1071                339        1100
245       1072             290       1071                340        1100
247       1073             291       1071                341        1281
248       1073             292       1071                342        1099
249       1073             293       1079                345        1100
250       1073             294       1080                391        1101
251       1073             295       1081                398        1101
252       1074             296       1076                399        1101
253       1075             297       1082                404        1102


                                     2
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 4 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
405       1103             456       1104                510        1136
406       1104             457       1104                515        1102, 1137
407       1104             458       1118                516        1102, 1137
408       1105             464       1119                519        1138
409       1104             466       1120                520        1138
410       1106             467       1120                522        1139, 1140
411       1135             468       1120                524        1139, 1140
412       1107             469       1120                527        1141
413       1108             470       1120                528        1141
414       1107             471       1120                530        1138, 1141
420       1109             472       1120                533        1138, 1141
425       1108             473       1121                534        1141
426       1105             475       1122                535        1142
427       1110             476       1122                536        1141
428       1110             477       1122                537        1143
429       1006, 1009,      478       1122                538        1144
          1111             479       1122                540        1144
430       1111             480       1122                542        1141
431       1107             481       1122                545        1141
432       1111             484       1123                546        1141
433       1111             485       1120, 1124          547        1144
434       1135             486       1125                549        1139, 1140
435       1112             487       1126                550        1139, 1140
436       1104             488       1126                551        1139, 1140
437       1104             489       1126                553        1139, 1140
438       1113             490       1127                555        1139, 1140
439       1113             492       1128                556        1142
440       1113             493       1129                558        1139, 1140
441       1104             495       1130                559        1139, 1140
442       1114             496       1131                563        1139, 1140
443       1104             497       1132                573        1139, 1140,
444       1114             498       1133                           1145
445       1104             499       1134                574        1145
446       1104             500       1134                575        1139, 1140,
447       1104             501       1135                           1145
448       1115             502       1135                576        1139, 1140,
450       1104             503       1135                           1145
451       1104             504       1135                577        1139, 1140,
453       1104                                                      1145
                           505       1135
                                                         578        1139, 1140,
454       1116             506       1135
                                                                    1145
455       1117             509       1135


                                     3
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 5 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
579       1139, 1140,      644       1154                693        1162
          1145             645       1151, 1154          695        1160, 1163
580       1139, 1140,      646       1154                696        1161
          1145             647       1154                697        1163
582       1145             648       1154                698        1158, 1160,
583       1145             649       1154                           1162, 1283
587       1146             650       1154                700        1158, 1283
590       1145             651       1154                702        1160
591       1102, 1137       653       1154                703        1160
594       1138, 1141       654       1153                705        1164
595       1138, 1141       655       1152                706        1158
596       1138, 1141       656       1152                707        1158
600       1147, 1148       657       1152                709        1158, 1283
601       1147, 1148       658       1152                711        1283
604       1147             659       1154                717        1165
607       1141, 1144       660       1154                718        1165
610       1102, 1137       664       1149                719        1166
611       1102, 1137,      666       1155                720        1165
          1148             667       1155                722        1167
613       1102, 1137       668       1155                723        1165
614       1102, 1137       669       1156                724        1165, 1168
616       1145             670       1157, 1158          730        1168
617       1145             675       1159, 1160,         732        1169
618       1145, 1149                 1283                733        1169
619       1144, 1145       676       1159, 1160,         734        1169
620       1102, 1137                 1283                735        1169
621       1150, 1283       677       1159, 1160,         736        1169
622       1150, 1283                 1283                738        1159, 1160,
623       1150, 1283       678       1159, 1160,                    1170
624       1283                       1283                739        1159, 1160,
625       1283             679       1159, 1160,                    1170, 1171
626       1283                       1283                740        1159, 1160,
627       1165             680       1159, 1160,                    1170
628       1165                       1283                742        1159, 1160
629       1165             685       1160, 1161          744        1172
636       1151             686       1160                745        1172
                           687       1162                746        1172
638       1152
639       1153             688       1162                747        1159, 1160,
641       1154             689       1162                           1173
642       1151, 1152       690       1162                748        1169, 1174
                           691       1163                749        1169
643       1154
                           692       1162


                                     4
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 6 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
750       1169             807       1126                848        1194
751       1169             808       1126                849        1194
752       1169, 1175       809       1126                850        1194
753       1169             810       1126                851        1194
754       1169             811       1186                852        1194
755       1175             812       1186                853        1194
756       1176             813       1186                854        1154, 1194
757       1175             814       1186                855        1185
758       1177             815       1187                856        1185
759       1177             816       1188                857        1185
760       1178             817       1126, 1186,         858        1185
761       1179                       1188                859        1185
762       1180             818       1126, 1189          860        1195
763       1180             819       1126, 1190          862        1195
764       1180             820       1191                863        1195
766       1181             821       1191                864        1195
767       1181             822       1191                865        1126, 1195
768       1181             823       1191                871        1156
769       1181             824       1191, 1192          872        1156
770       1181             825       1192                873        1156
771       1182             826       1192                874        1154
772       1182             827       1192                875        1154
773       1182             828       1192                877        1126
774       1182             829       1192                878        1154
775       1182             830       1192                879        1154
776       1182             831       1126                880        1154
777       1183             832       1126                882        1196
778       1184             833       1126                884        1197
779       1184             834       1126                885        1198
780       1184             835       1126                886        1199
781       1184             836       1126                887        1199
782       1184             837       1126                888        1200
791       1185             838       1126                889        1200
799       1154             839       1126                890        1200
800       1154             840       1126                891        1200
801       1154             841       1193                892        1200
802       1126             842       1193                893        1200
803       1126             843       1193                894        1200
804       1126             844       1193                895        1200
805       1126             845       1193                899        1201
806       1126             846       1193                900        1201


                                     5
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 7 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
901       1201             976       1227                1055       1238
902       1201             983       1228, 1229,         1056       1238
903       1201                       1230                1057       1238
904       1202             984       1228, 1229,         1058       1238
905       1203                       1230                1059       1238
906       1204             985       1231                1060       1238
907       1204, 1205       994       1232, 1233          1061       1232, 1233,
908       1204, 1205       995       1232, 1233                     1238
909       1204, 1205,      996       1232, 1233          1062       1238, 1240
          1206             1008      1227, 1234          1063       1238
910       1204, 1207       1009      1227                1064       1054, 1238
912       1208             1010      1227                1065       1238
913       1209             1011      1227                1066       1238
915       1210             1012      1227                1067       1053, 1238
916       1211             1017      1235                1068       1053, 1238
917       1212             1019      1236                1069       1238
918       1212             1020      1236                1079       1241
920       1213             1021      1237                1080       1241
921       1213             1022      1237                1081       1241
922       1213             1023      1236                1086       1242
923       1213             1024      1236                1087       1232, 1233
924       1213             1035      1238                1095       1243
925       1214             1036      1238                1098       1243
926       1215             1037      1238                1099       1243
927       1215             1038      1238                1100       1243
928       1215             1039      1238                1101       1244
929       1215             1040      1238                1102       1245
930       1216             1041      1238                1103       1246
931       1216             1042      1238                1104       1247
932       1216             1043      1238                1106       1246
934       1217             1044      1238                1109       1246
938       1218             1045      1238                1111       1247
939       1218             1046      1238                1119       1248
944       1219             1047      1238                1131       1249
947       1220             1048      1238                1132       1249
948       1221             1049      1238                1133       1249
949       1222             1050      1238                1134       1250
953       1223             1051      1238                1135       1250
963       1224             1052      1238                1136       1251
967       1225, 1227       1053      1238, 1239          1137       1252
969       1226             1054      1238                1139       1253


                                     6
  Case 1:20-cv-03010-APM   Document 1371-1      Filed 05/29/25   Page 8 of 8




 Google     Plaintiffs’     Google     Plaintiffs’        Google      Plaintiffs’
 PFOF ¶     RPFOF ¶         PFOF ¶     RPFOF ¶            PFOF ¶      RPFOF ¶
1140      1253             1177      1270                1228       1282
1141      1253             1179      1271                1229       1282
1143      1254             1190      1272                1230       1282
1144      1254             1191      1272                1231       1281
1145      1255             1192      1272                1232       1281
1146      1255             1193      1272                1233       1281
1147      1256             1194      1273                1234       1281
1148      1257             1195      1274                1235       1281
1149      1258             1196      1274                1236       1281
1150      1259             1197      1274                1237       1281
1151      1259             1198      1274                1238       1281
1152      1259             1205      1278                1239       1281
1155      1260             1206      1278                1240       1281
1156      1261             1207      1278                1241       1281
1157      1261             1213      1275                1242       1281
1158      1262             1215      1276                1243       1281
1160      1263             1216      1277                1244       1281
1161      1264             1220      1278                1245       1158, 1281
1162      1264             1221      1278                1246       1281
1163      1265             1222      1279                1247       1158, 1283
1166      1266             1223      1281, 1282          1248       1158, 1283
1167      1053             1224      1158, 1281,         1249       1158, 1283
1168      1053                       1282                1254       1284
1170      1267             1225      1158, 1280,         1255       1281
1171      1268                       1281, 1282          1256       1281
1173      1269             1226      1280, 1281,         1257       1281
1175      1270                       1282                1258       1281
1176      1270             1227      1282




                                     7
